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   Foulds, Henry (11401)

   Title: 20210106 - RIOT - CAPITAL BUILDING

   ID:21002555

   Video Length: 1:55:21-Starts at 4:10 pm

   Transcript of 12:00-18:32


https://rumble.com/v6sds13-foulds-henry-11401-title-20210106-riot-capital-building.html




   12:11- People start yelling “Stop”

   12:17- “Please”

   12:34-13:19- Timeout guy yells “Hold up! Hold on! Hold On! Person down, person down, hold on, get her
   up! Person down, hold on, oh my god, please! Please! There’s a woman down, oh god please hold on!
   There’s a woman down please god hold on! Please don’t! You’re crushing them!

   13:25- Man yells “Please! Please stop pushing! Have mercy!

   13:26-13:35- Various people all yelling “Please!” and “Stop!”

   13:48- Man can be heard saying “Please! You don’t have to do this!”

   13:55- Foulds yells “Hey! We can take her to medics! Continues pushing people forward.

   14:04- Foulds says “Or take her straight out, either way you gotta get moving!”

   14:16- Foulds asks another officer “It’s not ours right?” (Assume he is asking if the person down is an
   officer or not)

   14:23- Foulds? Yells “Is she up?” continues pushing people forward regardless

   14:26-14:36- Luke Coffee can be heard screaming “Pray! Pray! Everybody stop and pray!” several times
   in succession.

   14:37- Foulds responds “Nobody is gonna move if you keep on watching, if you move that way you will
   open space!” (Except there is nowhere for them to move to.)

   14:50- Someone says “She’s still on the ground, see her? Her foot! She’s on the ground”

   14:54- the muffled screaming is very clear

   14:59- Man can be heard saying “you guys are being ruthless. You’re killing people!” “You guys are being
   ruthless!”

   15:06- Foulds yells “Clear the way!”

   15:07- Man again says “You’re killing people!”

   15:07-15:22- Various screams of “Please!” and “Hang on” and “You’re killing people!”
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15:22-15:30- Man says “Guys! Please just give us the opportunity to …please don’t I promise, please
help they’re down…please can you just grab her ankle? Please!”

15:33- “We’re not going to hurt you officer!”

15:37- Foulds “Get movin man! Push back that way!”

15:48- Unknown person says “you’re crushing her!”

15:53- Muffled screaming and it sounds like “No!” and “Oh my god!”

15:53- 16:07- Various banging noises over people coughing and screaming. Can hear something being
sprayed several times.

16:08- Rosanne Boyland’s companion can be heard saying “Hold on!” or “Oh god” and “There’s people
under here!”

16:17- Rosanne Boyland’s companion again can be heard louder and clearer “There’s people under
here!”

16:20-Boyland’s companion “There’s people crushed under here!”

16:24- Boyland’s companion “There’s people crushed under here!”

16:26- Boyland’s companion “There’s people crushed under here!”

16:30- Someone yells “Stop!”

16:31- - Boyland’s companion “There’s people crushed under here!”

16:34-16:40- Various people yelling “Stop!”

16:41- Someone says “Stop pushing people!” “Be Respectful!”
16:41-16:47- Various people begging officers to stop and yelling “Please!”

16:48- Man says “hold up! Hold up! Hold up!”

16:54- Officer yelling “Stand up!”

17:00- “Stop!”

17:01- “Please she’s crushed!”

17:06- “Save her!”

17:08- “let her up! Save her life!”

17:09-“Save her life! Save her life!”

17:10-17:22- Various people yelling “Stop” and “Please”, various people screaming in the background

17:22- Crowd can be heard starting to chant “I can’t breathe”

17:24- Foulds tells protestor “Now, you wanna squeeze out, nows the time!”
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17:35- Foulds yells “Hey capitol police!”

17:38- “Please! We’re trying to save a woman!”

17:42- Crowd still chanting “I can’t breathe”

17:46- Someone yelling “Get ‘em! Save her life man!”

17:47- “Save her!”

17:52- Foulds yells “you wanna get out nows the time, I suggest you keep going.”

17:58- Man says “Hold up my leg is twisted!”

18:00- Foulds responds “No! I’m not!”
18:02- Foulds “Go! Fucking go! Before you end up like her!”

18:06- Foulds: “Capitol! Let this man squeeze through and out!” “If you can!”

18:10- Man he’s referring to says “I think I’ll get fucked up over there”

18:14- Man saying “Keep pulling them guys!”

18:15- Boyland companion yelling “She’s dead!”

18:16- Man says “Take her down”

18:18- “Keep pulling her please”

18:20- Boyland Companion “She’s dead! Oh god!”

18:24- Protestor asks Foulds “Are you alright?”

18:25- Foulds says “I’m alright”

18:27- Officer says “Get out of here!”

18:31- This sounds like the point the crowd turns violent

18:32- Foulds yells “Oh shit! I’m done”
